              IN THE UNITED STATES DISTRICT COURT
         FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                       ASHEVILLE DIVISION
               CRIMINAL CASE NO. 1:08-cr-00082-MR-1
            CRIMINAL CASE NO. 1:09-cr-00055-MR-DLH-2
               CRIMINAL CASE NO. 1:09-cr-00058-MR-3

UNITED STATES OF AMERICA, )
                           )
              Plaintiff,   )
                           )
     vs.                   )              ORDER
                           )
                           )
VINCENT LAMAR BOULWARE, )
                           )
              Defendant.   )
__________________________ )


      THIS MATTER is before the Court on the Defendant’s pro se motion

to amend the order of restitution set forth in the Judgment. [Criminal Case

No. 1:08-cr-00082-MR-1, Doc. 145; Criminal Case No. 1:09-cr-00055-MR-

DLH-2, Doc. 37; Criminal Case No. 1:09-cr-00058-MR-DLH-3, Doc. 51].

      The Defendant pleaded guilty to three counts of bank robbery and was

sentenced to a total of 188 months’ imprisonment. [See Criminal Case No.

1:08-cr-00082-MR, Doc. 97: Consolidated Judgment]. The Defendant was

held to be jointly and severally liable with his two co-defendants for a total

amount of $7,235.00 in restitution.     [Id.].   The Judgment ordered that




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payment of all criminal monetary penalties was “to begin immediately,” with

monthly payments of $50.00 to commence 60 days after release from

imprisonment to a term of supervision. [Id. at 5].

      The Defendant now moves for a modification of his restitution

obligation. Specifically, he asks that the Court eliminate the requirement that

restitution payments should begin immediately so that he can avoid

placement in the Bureau of Prisons’ Inmate Financial Responsibility Program

(IFRP). The Defendant also argues that he should not be held liable for the

full amount of restitution set forth in the Judgment and that the Court should

instead “split” the restitution obligation equally between himself and his co-

defendants. [Doc. 51 at 2].

      The Court “cannot remit a mandatorily imposed restitution order.”

United States v. Roper, 462 F.3d 336, 339 (4th Cir. 2006); United States v.

Wood, No. 5:05-CR-44-2BO, 2013 WL 1222685, at *1 (E.D.N.C. Mar. 25,

2013) (“District courts may relax the restitution payment schedule and may

apportion restitution among co-defendants at the time of sentencing, but

once judgment has been entered against the defendant the Court may not

modify or cancel the total amount of restitution.”) (emphasis added). Thus,

the Court cannot modify the amount of restitution previously ordered.




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      To the extent that the Defendant requests a modification of the

payment schedule, this request must be denied. The Court may adjust a

defendant’s payment schedule upon receipt of notification that there has

been a “material change in the defendant’s economic circumstances that

might affect the defendant’s ability to pay restitution.” 18 U.S.C. § 3664(k).

No such “material change” has been identified here.

      Finally, to the extent that the Defendant’s motion can be construed as

a request to defer or modify the restitution payments made through the IFRP,

the Defendant’s request also must be denied. Before seeking relief from any

court regarding obligations under the IFRP, a defendant must exhaust all

administrative remedies through the Bureau of Prisons. McGhee v. Clark,

166 F.3d 884, 887 (7th Cir. 1999). Once all administrative remedies have

been exhausted, a defendant may challenge such payments only by filing

the appropriate pleading in the district court located in the district of

confinement, not the sentencing court. See Moore v. Olson, 368 F.3d 757,

759 (7th Cir. 2004); Matheny v. Morrison, 307 F.3d 709, 711-12 (8th Cir.

2002).

      IT IS, THEREFORE, ORDERED that the Defendant’s pro se motion to

amend the order of restitution set forth in the Judgment [Criminal Case No.

1:08-cr-00082-MR-1, Doc. 145; Criminal Case No. 1:09-cr-00055-MR-DLH-


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2, Doc. 37; Criminal Case No. 1:09-cr-00058-MR-DLH-3, Doc. 51] is

DENIED.

     IT IS SO ORDERED.
                              Signed: August 17, 2016




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